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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

In re:                                      §
                                            §
Garden Oaks Maintenance                     §      Case No. 18-60018-H2-11
Organization, Inc.,                         §
     Debtor                                 §
                                            §
                                            §
THE OFFICIAL COMMITTEE OF                   §
UNSECURED CREDITORS OF                      §
GARDEN OAKS MAINTENANCE                     §
ORGANIZATION, INC.,                         §       Adversary No. 18-03173
                                            §
                    Plaintiff               §
                                            §
v.                                          §
                                            §
GARDEN OAKS MAINTENANCE                     §
ORGANIZATION, INC.,                         §
                                            §
                    Defendant               §


                                         ANSWER

         COMES      NOW,        Garden    Oaks   Maintenance   Organization,   Inc.,
(“Defendant” or “Debtor”), and files its Answer.
         1.   Defendant would refer to the identified document regarding the
content of the document, and denies the remaining factual allegations contained in
paragraph 1 of Adversary Complaint For Declaratory Judgment And Permanent
Injunction (the “Complaint”)




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      2.     Defendant admits that Transfer Fees have continued to be collected
and deposited post-petition, and denies the remaining factual allegations contained
in paragraph 2 of the Complaint.
      3.     Defendant denies that it spends $5,060.00 per month on “Professional
& Services” as that amount is only the disclosed/budgeted estimate and the
Committee is aware of that, admits that the “information” the Committee has that
the budgeted line item is for professionals to enforce deed restriction is correct as
the “information” was provided to the Committee by the Defendant prior to the
filing of the Complaint, and denies the remaining factual allegations contained in
paragraph 3 of the Complaint.
      4.     Defendant is unable to admit or deny the intentions of the Committee,
and denies the remaining factual allegations contained in paragraph 4 of the
Complaint.
      5.     Defendant admits that this is a core proceeding, that venue is proper
and consents to the entry of final judgments and orders by this court.
      6.     Defendant denies that all members were appointed pursuant to 11
U.S.C. §1102 as most members are ineligible to serve, and admits the remaining
factual allegations contained in paragraph 8 of the Complaint.
      7.     Defendant admits the factual allegations contained in paragraph 9 of
the Complaint.
      8.     Defendant admits the factual allegations contained in paragraph 10 of
the Complaint.
      9.     Defendant admits the factual allegations contained in paragraph 11 of
the Complaint.
      10.    Defendant admits the factual allegations contained in paragraph 12 of
the Complaint.



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      11.    Defendant denies that it demanded any payment as it was only
enforcing deed restrictions – restrictions that require the payment of the transfer
fee, and admits the remaining factual allegations contained in paragraph 13 of the
Complaint.
      12.    Defendant admits the factual allegations contained in paragraph 14 of
the Complaint.
      13.    Defendant denies the factual allegations contained in paragraph 15 of
the Complaint.
      14.    Defendant admits the factual allegations contained in paragraph 16 of
the Complaint.
      15.    Defendant admits the factual allegations contained in paragraph 17 of
the Complaint.
      16.    Defendant admits the factual allegations contained in paragraph 18 of
the Complaint.
      17.    Defendant would refer to the published opinion of the appellate court
regarding the contents of its opinion, and denies the remaining factual allegations
contained in paragraph 19 of the Complaint.
      18.    Defendant admits that the findings of the appellate court are strictly
limited to the facts and the parties to the opinion, and denies the remaining factual
allegations contained in paragraph 20 of the Complaint.
      19.    Defendant is unable to determine who or what is quoted in paragraph
21, however it would have to refer to that document or entity regarding the
statements attributable thereto, and denies the remaining factual allegations
contained in paragraph 21 of the Complaint.
      20.    Defendant refers to the appellate court’s opinion regarding the
contents or findings contained in the opinion, and denies the remaining factual
allegations contained in paragraph 22 of the Complaint.

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      21.    Defendant denies the characterizations, and admits the remaining
factual allegations contained in paragraph 23 of the Complaint.
      22.    Defendant admits the factual allegations contained in paragraph 24 of
the Complaint.
      23.    Defendant is unable to admit or deny the alleged date of denial, and
admits the remaining factual allegations contained in paragraph 25 of the
Complaint.
      24.    Defendant admits the factual allegations contained in paragraph 26 of
the Complaint.
      25.    Defendant refers to the document located at Docket #20 regarding
allegations of the content of Docket #20, and admits the remaining factual
allegations contained in paragraph 27 of the Complaint.
      26.    Defendant refers to the “Operating Budget Motion” regarding the
contents of that document, and admits the remaining factual allegations contained
in paragraph 28 of the Complaint.
      27.    Defendant admits the factual allegations contained in paragraph 29 of
the Complaint.
      28.    Defendant denies the factual allegations contained in paragraph 30 of
the Complaint.
      29.    Defendant admits the factual allegations contained in paragraph 31 of
the Complaint.
      30.    Defendant denies the factual allegations contained in paragraph 32 of
the Complaint.
      31.    Defendant refers to the opinion issued by the Court of Appeals
regarding the content of the opinion, and denies the remaining factual allegations
contained in paragraph 33 of the Complaint.



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      32.    Defendant refers to 204.010 of the Texas Property Code regarding
allegations of the content of that statute, and denies the remaining factual
allegations contained in paragraph 34 of the Complaint.
      33.    Defendant refers to its website and Docket #6 regarding the content of
those documents, and denies the remaining factual allegations contained in
paragraph 35 of the Complaint.
      34.    Defendant admits the factual allegations contained in paragraph 36 of
the Complaint.
      35.    Defendant denies the factual allegations contained in paragraph 37 of
the Complaint.
      36.    Paragraph 38 of the Complaint does not contain factual allegations
that require a response.
      37.    Paragraph 39 of the Complaint does not contain factual allegations
that require a response.
      38.    Defendant refers to its Schedules regarding allegations of the content
of the Schedules, and admits the remaining factual allegations contained in
paragraph 40 of the Complaint.
      39.     Defendant refers to its Schedules regarding allegations of the content
of the Schedules, and admits the remaining factual allegations contained in
paragraph 41 of the Complaint.
      40.    Defendant admits the factual allegations contained in paragraph 42 of
the Complaint.
      41.    Defendant is unable to admit or deny the beliefs of the Committee as
alleged in paragraph 43 of the Complaint.
      42.    Paragraph 44 of the Complaint does not contain factual allegations
that require a response.



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      43.    Defendant denies the factual allegations contained in paragraph 45 of
the Complaint.
      44.    Defendant denies the factual allegations contained in paragraph 46 of
the Complaint.
      45.    Defendant admits that it continues to collect fees required by the deed
restrictions, and denies the remaining factual allegations contained in paragraph 47
of the Complaint.
      46.    Defendant denies the factual allegations contained in paragraph 48 of
the Complaint.
      47.    Paragraph 49 of the Complaint does not contain factual allegations
that require a response.
      48.    Paragraph 50 of the Complaint does not contain factual allegations
that require a response.
      49.    Defendant is unable to admit or deny the beliefs of the Committee,
and denies the remaining factual allegations contained in paragraph 51 of the
Complaint.
      50.    Defendant is unable to admit or deny the speculation of the
Committee contained in paragraph 52 of the Complaint.
      51.    Defendant denies the factual allegations contained in paragraph 53 of
the Complaint.
      52.    Defendant denies the factual allegations contained in paragraph 54 of
the Complaint.
      53.    Defendant denies the factual allegations contained in paragraph 55 of
the Complaint.
      54.    Defendant denies the factual allegations contained in paragraph 56 of
the Complaint.



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      55.    Paragraph 57 of the Complaint does not contain factual allegations
that require a response.
      56.    Paragraph 58 of the Complaint does not contain factual allegations
that require a response.
      57.    Defendant denies the factual allegations contained in paragraph 59 of
the Complaint.
      58.    Defendant denies the factual allegations contained in paragraph 60 of
the Complaint.
      59.    Defendant refers to the identified Motion regarding allegations of the
content of the Motion, and denies the remaining factual allegations contained in
paragraph 61 of the Complaint.
      60.    Defendant is unable to admit or deny the beliefs of the Committee,
and admits the remaining factual allegations contained in paragraph 62 of the
Complaint because this information was provided to the Committee prior to the
filing of the Complaint.
      61.    Defendant admits the factual allegations contained in paragraph 63 of
the Complaint.
      62.    Defendant denies the factual allegations contained in paragraph 64 of
the Complaint.
      63.    Defendant denies the factual allegations contained in paragraph 65 of
the Complaint.
      64.    Defendant denies the factual allegations contained in paragraph 66 of
the Complaint.
      65.    Paragraph 67 of the Complaint does not contain factual allegations
that require a response.
      AFFIRMATIVE DEFENSES



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      66.    The Committee lacks standing to pursue the claims contained in the
Complaint.
      67.    The claims brought by the Committee are barred by limitations.
                                     PRAYER
             For these reasons, Defendant asks the Court to enter judgment that the
      Plaintiff take nothing, dismiss the Plaintiff’s suit with prejudice, assess costs
      against Plaintiffs, and award Defendant the requested relief and all other
      relief, at law or in equity, the Court deems appropriate.
Dated: August 2, 2018.



                                                     Respectfully submitted,
                                                  By: /s/ Johnie Patterson
                                                  Johnie Patterson
                                                  State ID# 15601700
                                              ATTORNEY FOR DEFENDANT
      OF COUNSEL:
      WALKER & PATTERSON, P.C.
      P.O. Box 61301
      Houston, TX 77208
      713.956.5577
      713.956.5570 (fax)
                         CERTIFICATE OF SERVICE

       I hereby certify that a true and correct coy of the foregoing was served by
electronic transmission to Charles Rubio by electronic transmission on August 2,
2018.
                                        /s/ Johnie Patterson
                                        Johnie Patterson




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